UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF NORTH CAROLINA

350 Jake Alexander Blvd., W., Suite 101
Salisbury, NC 28147
704-212-6172

                                MEMORANDUM
                                          July 3, 2017

  TO:          Cliff Barrett, First Assistant U.S. Attorney
  FROM:        Jennifer O’Konsky, U.S. Probation Officer
  RE:          Danyel-Roy Kier Lemons-King
               Docket No: 1:17CR209-4
               NOTICE OF APPARENT VIOLATION


 RELEASE STATUS

 On May 22, 2017, Danyel-Roy Kier Lemons-King appeared before United States Magistrate
 Judge L. Patrick Auld in the Middle District of North Carolina after having been charged in a
 Criminal Complaint with Count 1: Producing, Using, or Trafficking in Counterfeit Access
 Devices in violation of 18 U.S.C. § 1029(a)(1) and Count 2: Illegal Possession, Production, or
 Trafficking in Device-Making Equipment in violation of 18 U.S.C. § 1029(a)(4). Mr. Lemons-
 King was released with pretrial supervision to include the following conditions:

       The defendant is placed in the custody of Ms. Marilyn Smith in Charlotte, NC, who
        agrees to (a) supervise the defendant, (b) use every effort to assure the defendant’s
        appearance at all court proceedings, and (c) notify the court immediately if the defendant
        violates a condition of release or is no longer in the custodian’s custody.
       The defendant must participate in one of the following location restrictions programs
        and comply with its requirements as directed: Home incarceration. You are restricted
        to 24-hour-a-day lock-down at your residence except for medical necessities, previously
        scheduled attorney visits, court appearances, or other activities specifically approved by
        the court.
       The defendant shall not purchase or possess cellular telephones, iPads, or any other
        communication devices.

 Arraignment is scheduled for the first week of July 2017.

 APPARENT VIOLATION

 Mr. Lemons-King removed his location monitoring transmitter bracelet on July 2, 2017, at
 approximately 9:35 p.m. and left his residence without permission. As of the time of this
 memorandum, his whereabouts are unknown. According to Ms. Marilyn Smith, the third party
 custodian, Mr. Lemons-King used an iPad on July 2, 2017, without the Court’s approval.



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 SUMMARY OF DEFENDANT’S ADJUSTMENT TO SUPERVISION

 Mr. Lemons-King began pretrial supervision with location monitoring on May 22, 2017. He
 was residing with his third party custodian, Ms. Marilyn Smith, in the Western District of North
 Carolina; therefore, his pretrial supervision was being supervised by U.S. Probation Officer
 (USPO) Gerald Patton.

 On July 2, 2017, Mr. Lemons-King did not have any leave scheduled so he was confined to his
 residence. USPO Patton received an alert from the location monitoring company that Mr.
 Lemons-King had removed the location monitoring transmitter device from this leg at
 approximately 9:35 p.m. on July 2, 2017. After receiving the alert, USPO Patton immediately
 made telephone contact with Ms. Marilyn Smith. She advised USPO Patton that she and Mr.
 Lemons-King had an argument over his use of his brother’s iPad and that she verbally
 reprimanded him for his actions. She also reminded Mr. Lemons-King of his release conditions
 that restricted his use of communication devices, including but not limited to an iPad. Ms. Smith
 further advised USPO Patton that Mr. Lemons-King became very upset with her reprimand and
 that he used a knife to remove his location monitoring transmitter before leaving the residence.
 Ms. Smith was not aware of Mr. Lemons-King’s whereabouts when she spoke with USPO
 Patton.

 RECOMMENDATION

 The Probation Officer is recommending that a warrant be issued for Mr. Lemons-King and that
 he be detained until sentencing. Mr. Lemons-King is a risk of flight due to his absconding and
 the fact that his whereabouts are unknown. He is also viewed as a risk of danger to the
 community in that he used an iPad without permission and after having been instructed not to
 do so by the Court and the probation office.



cc: The Honorable L. Patrick Auld, United States Magistrate Judge
    James Blakely Norman, Defense Counsel
    Stacey Burleyson, Supervisory United States Probation Officer




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